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             DECLARATION OF JORGE ALBERTO CASTILLO CERRANO

I, Jorge Alberto Castillo Cerrano, hereby declare under penalty of perjury pursuant to 28 U.S.C.
§ 1746 that the following is true and correct.

   1. I make this declaration based on my own personal knowledge and if called to testify I
      could and would do so competently and truthfully to these matters.

   2. My name is Jorge Alberto Castillo Cerrano. I am 23 years old and from Venezuela. I
      entered the United States in December 2023 to seek asylum. After I entered the United
       States, I lived on the street for ten days until I found housing and work.

   3. I left Venezuela because I couldn’t eat much or study easily because the police would
      frequently extort me and take my money. On occasions when I couldn’t pay, the police
      would take me, incarcerate me, and beat me.

   4. My mom, sister, and girlfriend are all in El Paso, Texas. My girlfriend is a United States
      citizen.

   5. I received a final deportation order from an immigration judge in June 2024. I lost my
      case because I didn’t have enough money to get money to hire an attorney.

   6. In November 2024, I was in a bar when a fight started. The police came and took me,
      even though I wasn’t involved in the fight. Regardless, the police incarcerated me for
      four days in county jail. At the end of the four days, U.S. Immigration and Customs
      Enforcement (ICE) came and got me. ICE released me on an order of supervision with an
      ankle monitor. To the extent of my personal knowledge, I don’t have a criminal charge
      related to the fight.

   7. Prior to my detention, I was living with my girlfriend in El Paso, Texas and working as a
      barber at a barber shop.

   8. On or about February 12, 2025, I was picked up from work by ICE and taken to El Paso
      Processing Center, where I have remained since.

   9. I heard from other people in detention that the U.S. government has started transferring
      Venezuelans with final orders to the military base at Guantánamo Bay, Cuba. I also heard
      the U.S. government is targeting people they think are criminals or gang members, even
      if they have no proof.
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   10. During my first few days at El Paso Processing Center in February 2025, an ICE official
       asked if I was a gang member and if I sold drugs. Then, the official took photos of my
       tattoos.

   11. I am afraid of being transferred to Guantánamo. I believe that I am at risk of being
       transferred because I have a final order of removal and am from Venezuela. I also think I
       will soon be transferred to Guantánamo because I have tattoos and was questioned about
       being a gang member. I have never been involved in a gang and have no criminal history
       besides my brief incarceration following the fight in November 2024.

   12. Additionally, I believe I will be transferred because in my first few days at El Paso
       Processing Center in February 2025, I asked an ICE official about what would happen to
       me and he told me that I would be sent with the others to Guantánamo.

   13. I do not want to be transferred to or detained at Guantánamo. I am afraid of what will
       happen to me when I get there. I heard that there is no ability to contact lawyers or family
       from Guantánamo. I want access to an attorney to help me get out of detention and figure
       out what options I have in my immigration case.

   14. Everything in this declaration is true and correct to the best of my knowledge and
       recollection. This declaration was read back to me in Spanish, a language in which I am
       fluent.




Executed on the 20th of February, 2025 in El Paso, Texas.
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     Julia Randolph

20                           Jorge Alberto Castillo Cerrano

                                                              Castillo Cerrano
